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B 2100A (Form 2100A) (12/15)

UNITED STATES BANKRUPTCY COURT

Northern District of Indiana

In re Laura Ellen Shaffer ; Case No. 16-11589-reg

 

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111 (a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

 

 

U.S. Bank National Association, not in its individual U.S. Bank National Association, not in its individual capacity
capacity but solely as trustee for RMTP Trust, Series but solely as trustee for the RMAC Trust, Series 2018
2021 BKM-TT G-CTT
Name of Transferee Name of Transferor
Name and Address where notices to transferee Court Claim # (if known): 15-1
should be sent: Amount of Claim: $111,612.97
c/o Rushmore Loan Management Services Date Claim Filed: 09/09/2016

P.O. Box 55004
Irvine, CA 92619-2708

Phone: 888.504.6700 Phone: 800.274.7025
Last Four Digits of Acct #: 3389 Last Four Digits of Acct. #: 3389

 

 

Name and Address where transferee payments

should be sent (if different from above): |
c/o Rushmore Loan Management Services

P.O. Box 52708
Irvine, CA 92619-2708

Phone: 888.504.6700
Last Four Digits of Acct #:

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ Molly Slutsky Simons Date: 04/06/2021
Transferee/Transferee’s Agent

 

 

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
